                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

ROY STEWART MOORE, an individual
c/o The Foundation for Moral Law
P.O. Box 4086
Montgomery, AL, 36103                            Case No.:
And
KAYLA MOORE, an individual                   COMPLAINT FOR DEFAMATION,
c/o The Foundation for Moral Law             INTENTIONAL INFLICTION OF
P.O. Box 4086                                EMOTIONAL DISTRESS AND FRAUD
Montgomery, AL, 36103
                  Plaintiffs,
v.
SACHA NOAM BARON COHEN, an
individual
c/o CAA
2000 Avenue of the Stars
Los Angeles, CA, 90067
And
SHOWTIME NETWORKS, INC.,
1633 Broadway
New York, NY, 10019
And
CBS CORPORATION
51 W. 52nd Street
New York, NY, 10019

                   Defendants.


I.       INTRODUCTION

         Plaintiffs Roy Stewart Moore, former Chief Justice of the Supreme Court of Alabama

(“Judge Moore”) and his wife Kayla Moore (“Mrs. Moore”) bring this instant action against

Sacha Noam Baron Cohen (“Defendant Cohen”), Showtime Networks, Inc. (“Showtime”) and

CBS Corporation (“CBS”) for Defamation, Intentional Infliction of Emotional Distress and

Fraud.




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II.    JURISDICTION AND VENUE

       1.      This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

       2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the

events or omissions giving rise to the claim occurred in this judicial district.

III.   PARTIES

       3.      Judge Moore is an individual, natural person who is a citizen of the state of

Alabama, and the husband of Mrs. Moore.

       4.      Mrs. Moore is an individual, natural person who is a citizen of the state of

Alabama, and the wife of Judge Moore.

       5.       Defendant Cohen is an individual, natural person who is a citizen of the state of

California.

       6.      Defendant Showtime is a corporation with headquarters in New York. Showtime

is a wholly-owned subsidiary of Defendant CBS.

       7.      Defendant CBS is a corporation with headquarters in New York.

IV.    STANDING

       8.      Plaintiffs have standing to bring this action because they have been directly

affected by the unlawful conduct complained herein. Their injuries are proximately related to

the conduct of Defendants and their agents.

V.     FACTS

       9.      Judge Moore is the former Chief Justice of the Supreme Court of Alabama and a

prominent conservative figure who also ran for the U.S. Senate in 2017 as a Republican.




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       10.     Defendant Cohen is an actor, comedian, screenwriter, and producer who is best

known for portraying disguised fictional characters such as Ali G, Borat, and Brüno in different

shows and movies.

       11.     Defendant Cohen and his agents including the Defendants Showtime and CBS set

up scenarios where Defendant Cohen, while in character, falsely and fraudulently induces

unsuspecting victims, such as Judge Moore to be interviewed under dishonest, unethical, illegal

and false pretenses, for his works. Defendant Cohen and his agents then set these unsuspecting

victims up for ridicule and to severely humiliate them on film to promote his works and to

generate large financial returns for himself.

       12.     Defendant Cohen’s latest project is titled “Who is America?”

       13.     “Who is America?” debuted on the Showtime on July 15, 2018, which is owned

and produced by Showtime and CBS.

       14.     Judge Moore appeared on the third episode of “Who is America?” that originally

aired on July 29, 2018.

       15.     In order to fraudulently induce Judge Moore and Mrs. Moore to travel to

Washington, D.C., where filming was to and did take place, and where the majority of acts pled

herein occurred, on or about February 14, 2018, Defendant Cohen and his agents falsely and

fraudulently represented to Plaintiff that Yerushalayim TV – which does not actually exist - was

the producer and broadcaster of the show that Judge Moore would appear on, instead of the

actual network that the show that later appeared on Showtime. In addition, Defendant Cohen and

his agents falsely and fraudulently represented that Judge Moore and Mrs. Moore were both

being invited to Washington, D.C., for Judge Moore to receive an award for his strong support of

Israel in commemoration of its 70th anniversary as a nation state. This ceremony, and




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presentation of this award, Defendant Cohen falsely and fraudulently represented was to occur

during the interview.

       16.        Had Judge Moore and Mrs. Moore known that Defendant Cohen had fraudulently

induced Judge Moore into this interview, which as a “set up” to harm and thus damage Plaintiffs

and the rest of their entire family, Judge Moore would not have agreed to appear. Plaintiffs relied

on and had reason to rely on Defendant Cohen’s and his agents’ representations including

Defendants Showtime and CBS, which he was led to believe were truthful and he had no reason

to doubt.

       17.        Had Plaintiffs known that the promise of a bona fide award was a ruse to trick

Judge Moore into appearing on “Who is America?”, Judge Moore would not have agreed to

appear on Defendants Cohen’s, Showtime’s and CBS’s show and Mrs. Moore would not have

agreed to travel to Washington D.C. to accompany and honor her husband.

       18.        During the segment that featured Judge Moore, Defendant Cohen – while falsely

and fraudulently disguised as the character as Erran Morad, a supposed Israeli anti-terrorism

expert and former Mossad agent – falsely painted, portrayed, mocked and with malice defamed

Judge Moore as a sex offender, which he is not. Mrs. Moore was forced to endure the effects of

this interview.

       19.        Thus, during the taping of the segment, Defendant Cohen was in disguise as Erran

Morad, falsely and fraudulently portraying himself as someone else.

       20.        Had Judge Moore and Mrs. Moore known that “Erran Morad” was Defendant

Cohen, Judge Moore would have never agreed to be interviewed and, at a minimum, terminated

the interview immediately, and Plaintiffs would not have agreed to travel to Washington D.C.




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       21.     Defendant Cohen’s character falsely and fraudulently introduced a false and

fraudulent “device” supposedly invented by the Israeli Army to detect pedophiles. During the

segment, Defendant Cohen’s “device” – as part of the false and fraudulent routine – purports to

detect Judge Moore as a sex offender, thus defaming him.

       22.     This false and fraudulent portrayal and mocking of Judge Moore as a sex

offender, on national and international television, which was widely broadcast in this district on

national television and worldwide, has severely harmed Judge Moore’s reputation and caused

him, Mrs. Moore, and his entire family severe emotional distress, as well as caused and will

cause Plaintiffs financial damage.

       23.     After the taping of Judge Moore’s segment, when Plaintiffs discovered that they

had been fraudulently induced to fly to Washington, D.C. and that Judge Moore’s segment was

to appear on Showtime and CBS, his Alabama counsel, Melissa Isaak, Esq. sent a preemptive

notice to Defendants Showtime, CBS and thus Cohen warning them that Plaintiffs would resort

to appropriate legal remedies if they chose to air the segment.

       24.     In the preemptive notice, Defendants CBS, Showtime and thus Cohen were

informed that the release that Judge Moore had signed was obtained through fraud, and was

therefore void and inoperative.

       25.     CBS and Showtime failed to take remedial action for Defendant Cohen’s actions,

and therefore at a minimum adopted his actions and are jointly and severally liable.

                                  FIRST CAUSE OF ACTION
                                       Defamation Per Se
                                     Plaintiff Roy S. Moore




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       26.     Plaintiffs repeat and re-alleges all of the previous allegations of the entirety of this

Complaint, including, but not limited to with the same force and effect, as if fully set forth herein

again at length.

       27.     Defendant Cohen and his agents including Defendants Showtime and CBS made

false and defamatory statements concerning Judge Moore by calling, representing and publishing

within this district, the nation and the world, with malice, that Judge Moore a pedophile and a

sex offender on “Who is America?”

       28.     These statements are defamatory per se because they falsely accuse Judge Moore

of committing a serious crime, which amounts to a crime of moral turpitude. As defamation per

se, damage to Judge Moore is presumed as a matter of law.

       29.     Defendants acted in concert and are therefore jointly and severely liable. The

statements were made by Defendant Cohen and his agents including Showtime and CBS and

then published and/or broadcast in this district, nationwide and throughout the world by

Showtime and CBS.

       30.     Defendants acted with actual malice insofar as they knew that the statements

made against Judge Moore were false and/or recklessly disregarded their falsity.

       31.     Defendants’ statements and the publishing/broadcasting thereof were made

without any privilege.

       32.     As a direct and proximate result of Defendants and their agents’ extreme,

outrageous and malicious defamatory conduct set forth above, Judge Moore has been the subject

of widespread ridicule and humiliation and has suffered severe loss of reputation, which has in

turn also caused him, Mrs. Moore, and his entire family severe emotional distress and pain and




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financial damage, especially given his status as a prominent conservative and a God fearing

person of faith.

                               SECOND CAUSE OF ACTION
                            Intentional Infliction of Emotional Distress

       33.     Plaintiffs repeat and re-alleges all of the previous allegations of the entirety of this

Complaint, including, but not limited to with the same force and effect, as if fully set forth herein

again at length.

       34.         Defendant Cohen’s and his agents’ conduct including Showtime and CBS was

extreme and outrageous in that they falsely and without any substantiated factual basis, portrayed

Judge Moore as a pedophile and a sex offender in this district, on national television and

worldwide.

       35.     Defendant Cohen’s and his agents’ including Defendants Showtime’s and CBS’s

conduct was clearly willful and intentional.

       36.     CBS and Showtime’s conduct was extreme and outrageous in that it broadcasted

the Judge Moore segment, where he was falsely portrayed as a pedophile and sex offender, in

this district, on national television and worldwide for tens if not hundreds of millions to see and

hear, despite the fact that Judge Moore’s Alabama counsel had sent them a preemptive notice.

       37.     As a result of Defendants and their agents’ extreme and outrageous conduct,

Plaintiffs have suffered extreme emotional distress as a result of Judge Moore being falsely

portrayed, mocked and defamed as a sex offender and pedophile in this district, on national

television and worldwide.

       38.     As a direct and proximate result of Defendants and their agents’ extreme and

outrageous conduct set forth above, Judge Moore has been the subject of widespread ridicule and

has suffered severe loss of reputation, which has in turn also caused him, Mrs. Moore, and his




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entire family severe emotional distress and financial damage, especially given his status as a

prominent conservative and a God fearing person of faith.

                               THIRD CAUSE OF ACTION
                                       Fraud

       39.     Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including with the same force and effect, as if fully set forth herein again at length.

       40.     Defendant Cohen and his agents including Defendants Showtime and CBS

knowingly made false material representations that the show segment that Judge Moore was to

appear on was being produced by Yerushalayim TV, when in fact, it was being produced by

Showtime and CBS as part of their latest project “Who is America?”

       41.     Defendant Cohen and his agents including Defendants Showtime and CBS made

false material representations that Judge Moore and Mrs. Moore were being flown to

Washington D.C. to receive an award for his support of Israel and to commemorate the 70th

anniversary of its founding as a Jewish nation state.

       42.     Defendant Cohen and his agents including Defendants Showtime and CBS

knowingly made this false material representation to fraudulently induce Judge Moore to appear

on the program, with Mrs. Moore present, where Defendant Cohen and Defendants Showtime

and CBS would falsely portray, mock and defame Judge Moore as a pedophile and a sex

offender, which if true, which it was not, is a crime of moral turpitude.

       43.     Plaintiffs justifiably relied on Defendant Cohen’s and the other Defendants false

representations and, as a direct and proximate result of these false representations, agreed to

appear and be present on and at Defendant Cohen’s and Showtime’s and CBS’s show.




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        44.     Defendant Cohen, while in disguise, further made false and fraudulent

representations that he was “Erran Morad” in order to trick Judge Moore into speaking with and

to be interviewed by him.

        45.     Had Plaintiffs known that “Erran Morad” was Defendant Cohen, Judge Moore

would never have agreed to the interview and for Mrs. Moore to be present and, at a minimum,

have terminated the interview immediately.

        46.     Defendants CBS, Showtime and Cohen failed to take remedial action for

Defendant Cohen’s actions despite being on notice and therefore Defendants Showtime and CBS

at a minimum adopted Defendant Cohen’s actions, and all of them are jointly and severally liable

as joint tortfeasors.

        47.     As a direct and proximate result of Defendant Cohen’s and his agents’ including

Defendants Showtime’s and CBS’s false and fraudulent representations, Judge Moore, Mrs.

Moore, and his entire family have suffered extreme emotional distress as a result of Judge Moore

being falsely portrayed as a sex offender and pedophile in this district, on national television and

worldwide.

        48.     As a direct and proximate result of Defendant Cohen’s and his agents’ including

Defendants Showtime’s and CBS’s fraudulent representations, Plaintiffs been the subject of

widespread ridicule and Plaintiffs’ entire family, including Mrs. Moore, have suffered loss of

reputation, financial loss, and loss of time spent going to and being in Washington D.C.

                                  PRAYER FOR RELIEF

        W H E R E F O R E , Plaintiffs pray for relief and judgment against Defendants Cohen,

Showtime and CBS as follows, all of whom acted in concert as joint tortfeasors:              actual,




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compensatory, and punitive damages in excess of $95,000,000 USD, as well as attorneys’ fees

and costs, and any other relief that this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL
       Plaintiff demands a trial by jury on all counts, as to all issues so triable.


DATED: September 6, 2018                               Respectfully submitted,


                                                       /s/ Larry Klayman
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